        Case 1:11-cv-02725-LGS-JLC Document 1167 Filed 04/12/22 Page 1 of 2



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------   X
                                                              :
US AIRWAYS, INC.,                                             :
                                             Plaintiff,       :
                                                              :   11 Civ. 2725 (LGS)
                           -against-                          :
                                                              :         ORDER
                                                              :
SABRE HOLDINGS CORP., et al.,                                 :
                                             Defendants.      :
-----------------------------------------------------------   X
LORNA G. SCHOFIELD, District Judge:

        WHEREAS, the jury questionnaire will be administered on April 14, 2022, by the Court’s

Jury Department. (Dkt. No. 1108.) It is hereby

        ORDERED that, on April 14, 2022, at 2:00 p.m. (or earlier if so notified), the parties shall

pick up the completed paper questionnaires from the Jury Department in Room 160 of the Daniel

Patrick Moynihan Courthouse at 500 Pearl Street, New York, New York 10007, shall scan them and

send a digital copy to all counsel and to the Court as soon as possible and no later than 6:00 p.m.

the same day. The parties shall endeavor to agree on the process for scanning, and if they cannot

agree, shall evenly divide the paper copies between the two sides for scanning. The digital copy

shall be delivered to the Court using the link to be provided for uploading. It is further

        ORDERED that the parties shall confer and email to Chambers as soon as possible and no

later than April 18, 2022, a joint letter (in Word format) of potential jurors in numerical order

whom the parties agree should be excused for cause, including hardship, and a list of potential

jurors that only one party believes should be excused for cause. The challenges should make clear

who in each instance is making the challenge. It is further

        ORDERED that the trial will commence with voir dire on April 22, 2022, at 10:00 a.m., in

Courtroom 110 of the United States District Court for the Southern District of New York, Thurgood

Marshall U.S. Courthouse at 40 Foley Square, New York, New York 10007 (“Courtroom 110”). If
       Case 1:11-cv-02725-LGS-JLC Document 1167 Filed 04/12/22 Page 2 of 2



possible, opening statements immediately will follow. Testimony will commence on April 25,

2022. (Dkt. No. 1108). It is further

       ORDERED that the parties shall destroy all copies of the juror questionnaires after the jury

has been selected, and the Court will retain a copy filed under seal for the record. It is further

       ORDERED that the parties shall meet Courtroom Deputy James Street to test their AV

equipment on April 21, 2022, at 2:00 p.m, in Courtroom 110.

Dated: April 12, 2022
       New York, New York
